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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MARYLAND
                       –Northern Division–


MARSHALL TODMAN, et al.,

            Plaintiffs
                                    Case No.: 1:19-cv-03296-GLR
               –v–

THE MAYOR AND CITY COUNCIL
  OF BALTIMORE, et al.,

           Defendants.



MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
SUMMARY JUDGMENT REGARDING THE INVALIDITY OF BALTIMORE
CITY CODE ART. 13, § 8A-4 UNDER THE DUE PROCESS CLAUSE OF THE
                    FOURTEENTH AMENDMENT



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      Plaintiffs submit this memorandum in support of their motion for partial

summary judgment.

                                  INTRODUCTION

      Plaintiffs challenge the constitutionality of a Baltimore City ordinance that,

without providing warning of when an eviction will occur, transfers at the time of

eviction all of a tenant’s personal belongings “in or about” the leased premises to the

tenant’s landlord. The overwhelming majority of States require landlords to store a

tenant’s property for some amount of time after an eviction or follow the common law

rule that imposes a duty of care on the landlord to make reasonable efforts to keep

the property safe and return it to the tenant. Yet Baltimore City has implemented a

barbaric and unnecessary procedure: declaring all personal property abandoned,

without notice, for the purpose of instantaneously transferring ownership of that

property to the tenants’ landlord. Baltimore City’s ordinance distorts the concept of

“abandonment” to cover instances when (as in this case) it is clear that the tenants

desired to maintain possession of their valuable personal property and to move that

property out of the leased premises.

      As is apparent by the face of the ordinance, the reach of the City’s law has no

limits. It covers anything and everything: prescription medicine in the medicine

cabinet, prescribed health aids, intellectual property, firearms, pets, a car in a garage,

treasured family photos and irreplaceable keepsakes (priceless to the tenants, yet

worthless to strangers), tools of the tenants’ trade (otherwise exempt from judgment

collection), vital records, and so on. The ordinance doesn’t just apply to the tenants’

property; if an unrelated third party asks a friend to watch his dog in his absence,

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and that friend is evicted, the dog now belongs to the landlord so long as the dog was

present at the moment all property is transferred to the ownership of the landlord.

      The City’s ordinance makes a mockery of the Fourteenth Amendment. Aside

from operating without notice to the tenant in multiple types of eviction cases, the

ordinance provides no exceptions for circumstances where it is clear that there is no

intent by the tenants to abandon property. Nor does the destruction of tenants’

interests in their property serve any valid public purpose. It merely effects a transfer

of property from one private party to another. If that were not enough (it is), the

ordinance affords no opportunity for any tenant in any form of eviction case to

challenge the forfeiture at any time.

      The constitutionality of § 8A-4 is a central issue in this case and both

Defendants assert its validity as a basis for their defense. While there are some

factual disputes in this case, they have no bearing on this motion. The central facts

demonstrating the unconstitutionality of the City’s ordinance are not in dispute, and

are as alleged in the First Amended Complaint that this Court has already ruled to

have “adequately allege[d] that § 8A-4 violates their procedural due process rights”

and substantive due process rights. Todman v. Mayor & City Council of Baltimore,

488 F. Supp. 3d 218, 226 (D. Md. 2020).

                                        Standard

      Under Federal Rule of Civil Procedure 56(a), a party may seek summary

judgment as to a claim or defense, or a part of a claim or defense. A district court

should grant summary judgment “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of


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law.” Id. “A party opposing a properly supported motion for summary judgment may

not rest upon the mere allegations or denials of his pleadings, but rather must set

forth specific facts showing that there is a genuine issue for trial.” Bouchat v.

Baltimore Ravens Football Club, Inc., 346 F.3d 514, 522 (4th Cir. 2003) (internal

quotations omitted). The court must “view the facts and draw reasonable inferences

in the light most favorable to the party opposing the summary judgment motion,” but

a factual issue must be both genuine and material in order to defeat a motion, with

materiality determined by substantive law. Scott v. Harris, 550 U.S. 372, 378 (2007)

(internal quotations omitted); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48

(1986). “When both parties file motions for summary judgment, the court applies the

same standards of review.” Loginter S.A. Y Parque Indus. Agua Profunda S.A. Ute v.

M/V NOBILITY, 177 F. Supp. 2d 411, 414 (D. Md. 2001) (citing Taft Broad. Co. v.

United States, 929 F.2d 240, 248 (6th Cir. 1991)).

                              Facts and Background

I.    Background of Residential Evictions in Maryland

      As this Court has previously summarized:

             Maryland law prohibits non-judicial evictions for residential tenancies.
             See Md. Code Ann., Real Prop. [“RP”] § 8-216. As such, “a landlord may
             take possession of a dwelling unit from a tenant or tenant holding over”
             only “[i]f the tenant has abandoned or surrendered possession of the
             dwelling unit” or “[i]n accordance with a warrant of restitution issued
             by a court and executed by a sheriff or constable.” Id. § 8-216(b)(2).

             To receive a warrant of restitution, the landlord must “make [a]
             complaint in writing to the District Court of the county where the
             property is located.” Id. § 8-402(b)(1)(i). Upon receipt of the landlord's
             written complaint, the district court will direct “any constable or sheriff
             of the county entitled to serve process ... to notify the tenant, assignee,
             or subtenant to appear ... before the court to show cause why restitution


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             should not be made to the landlord.” Id. § 8-402(b)(1)(ii). The sheriff
             typically must “serve the summons on the tenant, assignee, or subtenant
             on the property,” but if the tenant cannot be located, the sheriff may
             “affix an attested copy of the summons conspicuously on the property.”
             Id. After a hearing, the district court may enter “judgment for the
             restitution of the possession of [the] premises” in favor of the landlord
             and, upon the landlord's request, “issue [a] warrant [of restitution] to
             the sheriff” of the relevant county. Id. § 8-402(b)(2)(i). In Baltimore City,
             a landlord must file a petition for warrant of restitution within sixty
             days after the district court enters judgment in favor of the landlord.
             Balt. City, Md., Code of Pub. Local Laws art. 4, § 9-6.

Todman, 488 F. Supp. 3d at 221-22.

II.    The 2007 Change to Baltimore City Eviction Procedures.

       In 2007, Baltimore City modified the eviction process under § 8–401(d)(1)(i).

Baltimore City Code Art. 13, § 8A-4 now provides:

             § 8A-4. Unclaimed property is abandoned.

             (a) In general.
             All property in or about the leased premises at the time that the
             warrant of restitution is executed is abandoned.

             (b) No liability.
             Neither the landlord nor someone acting on the landlord’s behalf
             is liable for any loss or damage to abandoned property.

       A.    The 2007 “Clean Streets Bill.”

       Each year, in Baltimore City, there are over 100,000 eviction filings. April 14,

2021 Dep. of Jason Hessler (attached hereto as Exhibit 1) (“City Dep.”), at 38. Those

filings lead to an average of 6,000 to 7,000 actual evictions in Baltimore City every

year. Id. at 35. That’s more than 19 evictions per day. Id. at 36.

       All evictions in Maryland are subject to Maryland Code, § 8-401(d) of the Real

Property Article. That statute provides that a court may issue a warrant directing a

county official to place a landlord back in possession of the leased premises and “for



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that purpose to remove from the property, by force if necessary, all the furniture,

implements, tools, goods, effects or other chattels of every description whatsoever

belonging to the tenant.” RP § 8–401(d)(1)(i) (emphasis added).

      For many years before 2007, Baltimore City landlords would comply with RP

§ 8–401(d)(1)(i) by removing their tenants’ property during eviction, but then placing

that property on the nearest sidewalk. Exhibit 1 (City Dep.), at 42. Tenants could

request that the City store their property, but very few ever did. Id. at 92. (Tenants

would have had to have called 311 even to learn about the option.) Id. at 93.

      In 2007, the City considered a bill to address the problem of landlords placing

tenants’ personal property on the street. The original bill required the landlord to

allow a tenant to reclaim his or her property within three days of the eviction. See

June 12, 2007 Letter from G. Nilson to City Council (attached hereto as Exhibit 2),

at CITY0029. If the tenant failed to claim the property at the conclusion of three days,

the property would be deemed abandoned. Id. The original bill contained notice

provisions to ensure that tenants were notified of their reclamation rights. Id. It

required three forms of notice: (1) first-class mail; (2) certified mail; and (3) posting.

Id. The bill did not treat the various forms of evictions differently.

      Residents supported the bill. Contained with the City’s “official” bill file are

letters from City residents and tenant associations explaining that the practice of

City landlords casting tenants’ belongings into the street was humiliating for

families. See Letter from J. Johnson (attached hereto as Exhibit 3). It turned other

residents into “scavengers.” Id. Evicted residents lost important personal property




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through this practice. June 19, 2007 Letter from M. Benelli to Councilman Harris

(attached hereto as Exhibit 4). One resident explained how “children’s clothing,

books, toys, etc. [were] left on the side of the street for anyone to rummage through.”

June 18, 2007 Letter from M. Garner (attached hereto as Exhibit 5). Highlighting

deficient notice provisions, a Reverend wrote to the City to relate a story of a tenant

who did not seem to know about his pending eviction. June 19, 2007 Testimony of

Rev. F. Smith to City Council (attached hereto as Exhibit 6).

      B.     The Tenant Eviction Work Group (“Working Group”).

      After the original bill was proposed by a member of the City Council, the City

Solicitor assembled a working group to revise the bill. Exhibit 1 (City Dep.), at 19.

The working group was headed by then City Solicitor George Nilson and a former

attorney in the law department named Suzanne Sangree. Id. at 67. Active members

included Kathleen Kelly Howard, who participated on behalf of the Maryland Multi-

Housing Association (“MMHA”) and Jan Goslee, the general counsel of the Housing

Authority of Baltimore City. Id. at 71.

      On behalf of the MMHA, Ms. Howard suggested sweeping revisions to the

Clean Streets Bill. May 29, 2007 E-mail from Ms. Howard to the Working Group

(attached hereto as Exhibit 7). At one point during the legislative process, former

Solicitor Nilson complained to Ms. Howard about the revisions proposed by

“Representatives of the landlord community.” April 26, 2007 E-mail from Mr. Nilson

to the Working Group (attached hereto as Exhibit 8). Those revisions eliminated any

period for a tenant to reclaim his or her property. Id. Mr. Nilson explained that “notice

and brief retention is, of course, the guts of the proposed bill.” Id. Despite his


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concerns, Mr. Nilson assured Ms. Howard that he could “close this deal to your

‘satisfaction.’” Exhibit 1 (City Dep.), at 85; June 8, 2007 E-mail from Mr. Nilson to

Ms. Howard (attached hereto as Exhibit 9).

      Ms. Goslee also suggested significant revisions. Although one of the two main

objectives of the bill was to provide tenants with notice of an eviction, Exhibit 1 (City

Dep.), at 106, and robust advance notice provisions were added to offset the

elimination of the reclamation period, Ms. Goslee proposed exempting certain kinds

of evictions from all notice provisions. Id. at 131-32; May 31, 2007 E-mail from Ms.

Goslee to Mr. Nilson (attached hereto as Exhibit 10). Ms. Goslee suggested, and the

working group agreed, to exempt certain evictions from the notice requirements even

though the nature of an eviction has nothing to do with the nature of the tenant’s

personal property in the dwelling. Exhibit 1 (City Dep.), at 134. When asked for an

explanation of why tenant holding over cases or breach of lease cases would be

excluded from the notice requirements, the City could not provide an explanation. Id.

at 137.

      C.     The Final Product: The Abandonment Ordinance.

      The ordinance was signed by Mayor Sheila Dixon on August 14, 2007. See

Signed Copy of Council Bill 07-0665 (attached hereto as Exhibit 11). The official

version of the ordinance is the one signed by the City Council members, the City

Council President, and the Mayor. Exhibit 1 (City Dep.), at 22. This version contains

a purpose statement, which explains the overall purpose of the law. Id. at 24. The

expressed purpose of the Ordinance is to, among other things, provide for:




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(1) “disposition of certain eviction chattels”; (2) “a tenant’s right to reclaim property

within a certain period”; and (3) a process by which “unclaimed property is deemed

abandoned under certain circumstances.” Exhibit 11.

      The City views this purpose statement as accurate. Exhibit 1 (City Dep.), at

58-59. It is not. The final version of the Eviction Chattels Law or Abandonment

Ordinance does not actually address “eviction chattels,” because there can be no such

thing under the Abandonment Ordinance. Nor does the ordinance having anything

to do with “unclaimed property” or a “tenant’s right to reclaim property.”

      Disposition of Eviction Chattels. Eviction Chattels is defined in § 8A-1 as

“property removed from a leased dwelling under a warrant of restitution.” Exhibit 11.

Property is not considered “Eviction Chattel” until it has crossed the threshold.

Exhibit 1 (City Dep.), at 28. That definition is consistent with State law. RP § 8–

401(d)(1)(i). But under § 8A-4, all property is “abandoned” as soon as the landlord

reestablishes possession over the leased premises. Exhibit 1 (City Dep.), at 123. That

is accomplished instantaneously (before any of the tenant’s property is removed) by

changing the locks. Id. at 42, 118. So under the terms of the Abandonment Ordinance,

there can never be “eviction chattels”—all of the tenants’ belongings are transferred

to the landlord before anything leaves the rental property.

      Tenant’s Right to Reclaim. There is no dispute that the ordinance provides

no right of reclamation.

      Unclaimed Property. The real purpose of the ordinance is not to deem

“unclaimed property abandoned,” but is to transfer possession and ownership of the




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tenants’ personal property to the landlord. Exhibit 1 (City Dep.), at 60. While Section

8A-4 is titled “Unclaimed property is abandoned,” the provision itself does not deal

with “unclaimed property.” Nor does it pertain to “abandoned” property in any sense

of that phrase. As the City has explained, the tenants’ property is deemed abandoned

only momentarily. Id. at 123. Possession, in the City’s words, “shifts immediately over

to the landlord at the execution of the warrant” and the tenant’s belongings become,

at that moment in time, “the property owner's property.” Id. at 123-24. Abandonment,

therefore, is a legal device intended by the City to transfer ownership of the tenants’

property to the landlord—and to do so instantaneously. Id. at 44.

       Said another way: the real purpose of the law is not to deem unclaimed

property abandoned. Rather, it is to transfer ownership of property from A (the

tenant) to B (the landlord). Id. at 44, 47. As soon as the landlord changes the locks on

the dwelling, everything “in or about” the property becomes his property. Id. at 61.

At that point in time, the landlord can do whatever he likes with the property, except

place it on public property. Id. The landlord can take it to a pawn shop. Id. at 62. He

can attempt to sell it back to the tenants. Id. If a landlord is owed back rent, he can

hold onto the tenants’ personal property and exchange it for the back rent owed

(otherwise known as “distress for rent”). 1 Id.

       Although the City received numerous reports about the original Clean Streets

Bill and letters from constituents, no hearings were held on the version of the bill



1 In this respect, the Ordinance is inconsistent with Maryland Code, § 8-302 of the Real

Property Article. That statute provides that “[d]istress for rent is an action at law and shall
be brought as provided in this section.”


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created by the working group, which eventually become the Abandonment Ordinance.

Id. at 156. And as shown by an erroneous publication by the Mayor’s Office, there

was deep confusion about the law the work group had in fact devised.

        D.    The Erroneous Dixon Report.

        After Mayor Dixon signed the bill in August 2007, she released a report on her

website praising the new ordinance. See September 28, 2007 E-mail from Ms. Howard

to Mr. Nilson (attached hereto as Exhibit 12). The report indicated that the new law

was enacted because under the former practice “Tenants are left with little chance to

claim their belongings. . . .” Id. To bring dignity to the eviction process, the Mayor’s

Office believed that the new law would provide a “five-day advance notification and

[would] have the opportunity to keep their belongings in covered storage for three

days after the eviction for a modest cost.” Id.

        Mr. Nilson, who agreed to remove the reclamation provisions at the request of

City landlords, promptly advised the Mayor’s Office to rescind the erroneous notice.

Exhibit 1 (City Dep.), at 146.

III.    Plaintiffs’ Eviction

        Plaintiffs were residential tenants of a property belonging to Defendant

Collins. See Affidavit of Plaintiff Todman (attached hereto as Exhibit 13), at ¶ 2. The

property is located at 4214 Ridgewood Ave, 1st Floor, Baltimore, MD 21215 (the

“Property”). Id. Defendant Collins is a “full time” landlord and manages and owns at

least twelve residential rental properties in Baltimore City. Excerpts from the April

5, 2021 Deposition of Defendant Collins (attached hereto as Exhibit 14), at 7; Excerpts

from the April 23, 2021 Deposition of Defendant Collins (attached hereto as Exhibit


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15), at 36-37. Although under RP § 8-208(a)(1), “any landlord who offers 5 or more

dwelling units for rent in the State may not rent a residential dwelling unit without

using a written lease,” Defendant Collins did not offer Plaintiffs a written lease for

the Property. Exhibit 15 (4/23/21 Collins Dep.), at 39-40. Moreover, Defendant Collins

did not hold the license required to rent the Property in Baltimore City. Id. at 42. The

collection, acceptance or retention of rent for an unlicensed rental property in

Baltimore City is a criminal misdemeanor. Article 13, §§ 5-4(a)(2) and 5-26 of the

Baltimore City Code.

       On May 13, 2019, Defendant Collins filed a tenant holding over action against

Plaintiffs in the District Court of Maryland, Case No. 010100110942019 (the “Tenant

Holding Over Action”). Plaintiffs were served in the Tenant Holding Over Action via

posting on the Property, rather than in-person service. See Proof of Service in Tenant

Holding Over Action (attached hereto as Exhibit 16).

       A hearing was held in the Tenant Holding Over Action on July 2, 2019 (the

“Hearing”). Transcript of July 2, 2019 Hearing in Tenant Holding Over Action

(attached hereto as Exhibit 17). Despite having potential defenses to the Tenant

Holding Over Action based on the prematurity 2 and staleness of the notice to quit,

the lack of written lease and the lack of a rental license, Plaintiffs wanted to leave

the Property. Plaintiffs explained to the judge that they needed to remain in their

home until August 2, 2019. Id. at 7-8. Seeing grounds for a potential settlement, and

recognizing that she was powerless to stay her judgment absent agreement, the


2 Under RP § 8-208 (a)(2), a residential rental where there is no written lease is presumed to

be for one full year, although it can be terminated with one month notice by the tenant.


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Judge explored with Defendant Collins whether Defendant Collins would be willing

to agree to a stay of any judgment to give Plaintiffs enough time to move out of their

home. Id. at 10-15.

      Defendant Collins expressed a concern about timing, worrying aloud that a

stay of a judgment of possession until August 2, 2019 would delay his ability to

schedule an eviction if Plaintiffs later refused to vacate by August 2, 2019. Id. at 10.

The Judge then asked Defendant Collins if “hypothetically” in his experience, if he

were to “file for an eviction” in two weeks, that the eviction would occur at least two

weeks from that date. Defendant Collins responded “correct.” Id. at 10-11.

Accordingly, the Judge then asked Plaintiffs:

             So understanding that, would you -- understanding that what Mr.
             Collins has just agreed, if the stay of execution was for two weeks
             and the eviction would be scheduled for at least two weeks from
             that point -- so if I granted the consent judgment and I granted a
             stay of execution until July 16th and then if he had to file for an
             eviction, it still wouldn't be for at least another two weeks after
             that. That would still give you the four weeks. Would you still be
             consenting to a judgment understanding all of that?

Id. at 11. Plaintiff Todman—understanding that Plaintiffs would have sufficient time

to move out of their home—replied “Yes, I would.” Id. at 11. The Judge then asked

Defendant Collins if he would agree. Defendant Collins continued to express concerns

over timing. He stated that if he agreed to a stay until July 16, 2019, then an eviction

could not be scheduled by August 2, 2019. He explained: “The way that the sheriffs

have run it, if you push it out two weeks, it's not going to be August 2nd.” Id.

Eventually, Defendant Collins agreed to the proposed stay until July 16, 2019. Id. at

15. Accordingly, the Judge summarized to Plaintiff Todman:



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             [M]y understanding is that Mr. Todman and Ms. Gattis are
             consenting to a judgment. And the stay of execution will be until
             the 16th of July at which point it would still take at least two
             weeks to -- at least -- and I wouldn't -- at least two weeks to
             schedule an eviction. Therefore, you would still have your full
             month before you would be able to do it. Is that correct?

Id. at 15. Plaintiff Todman again agreed. Id. At the conclusion of the Hearing,

Defendant Collins had the following exchange with the Judge:

             MR. COLLINS: But on the 16th, I can actually file the warrant,
             correct?

             THE COURT: I think you should talk to the clerks about whether
             it's the 16th or the 17th.

             MR. COLLINS: I'll do it the 17th. Okay.

             THE COURT: All right.

Id. at 18.

       Despite representing that he would petition for a warrant of restitution on July

17, 2019, Defendant Collins instead petitioned for warrant of restitution two days

earlier, on July 15, 2019. See Petition for Warrant of Restitution in Tenant Holding

Over Action (attached hereto as Exhibit 18). Defendant Collins filed his petition using

Form DC-CV-081, District Court’s state-wide form. The warrant of restitution issued

on July 16, 2019. Id.

       Typically, when the District Court issues a warrant of restitution, the clerk’s

office mails copies to the landlord and to the tenants by first class mail. The parties

dispute whether Plaintiffs received a copy of the executed warrant of restitution. See

Exhibit 13 (Todman Affidavit), at ¶ 6. For the purposes of this motion, Plaintiffs

assume that this dispute is resolved in Defendants’ favor.




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       The notice consists of the Petition of Warrant of Restitution on Form DC-CV-

081 with the bottom portion, the Order, stamped as having been approved by a judge.

See the Signed Petition for Warrant of Restitution on Form DC-CV-081 (attached

hereto as Exhibit 19). The Order provides: “The Sheriff/Constable of this Court is

ordered to deliver the premises to the Plaintiff (or the Plaintiff’s agent or attorney)

and, unless local law requires otherwise, to remove from the premises, by force if

necessary, all property of the Defendant(s) and any other occupant.” Id. There is also

a box, entitled “Notice of Eviction.” It states:

              The Court has ordered that you be evicted. If the property is in
              Baltimore City there are special procedures that apply. See the
              notice on the back of this form for the special procedures in
              Baltimore City and for general information related to evictions
              from properties that are not in Baltimore City. THERE WILL BE
              NO FURTHER NOTICE.”

Id.

       The back of the form, in fine print, then lays out certain information relating

to evictions in Maryland. The top portion states in bold that it “DOES NOT APPLY

TO BALTIMORE CITY.” It indicates that “The Court has ordered enforcement of the

judgment for possession which has been entered against you. This means that you

can be forcibly removed from the premises at any time after the date of this order,

without warning! THERE WILL BE NO FURTHER NOTICE.” Id.

       In contrast, the section of the form dealing with evictions occurring in

Baltimore City does not warn that the eviction could happen any time after the date

of the order without warning or further notice. Instead, it begins: “The landlord in a

failure to pay rent case must provide notice to the tenant of the first scheduled



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eviction date in two separate ways….” Id. The form goes on at length regarding the

notice provisions for failure to pay rent cases. But it does not indicate that those notice

provisions are inapplicable in other forms of eviction, such as tenant holding over

cases. The form further states:

              On eviction day any personal property left in or around
              the rental unit is considered abandoned. When the sheriff
              the sheriff returns possession of the rental property to the
              landlord, any of the tenant’s personal property left in or around
              the rental unit is considered abandoned. The tenant has no right
              to the property.

Id. (emphasis in form). This fine-print notice is the only warning that Defendants

claim Plaintiffs had that their belongings would be deemed abandoned if they were

not removed from the Property by the time of the eviction. There is no dispute that

Plaintiffs were not provided the notices that Baltimore City requires be provided to

tenants in failure to pay rent cases under Baltimore City Code Art. 13, § 8A-2 (B)

before deeming their belongings abandoned at the time of the eviction. Exhibit 13

(Todman Affidavit), at ¶ 7.

       After Defendant Collins filed the Petition for Warrant of Restitution two days

earlier than he said he would, the eviction scheduling process moved faster than he

had indicated at the Hearing. There is no dispute that Plaintiffs were not provided

with any notice from the court or sheriffs that the eviction was being scheduled two

days earlier than they had been told was possible at the Hearing. Id.

       Defendant Collins claims, and Plaintiffs dispute, that on some date that

Defendant Collins cannot recall after the eviction had been scheduled but before the

eviction, while he was at the Property mowing the lawn, Defendant Collins saw



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Plaintiff Todman and orally informed Plaintiff Todman that the eviction had been

scheduled for July 31, 2019. Exhibit 14 (4/5/2021 Collins Dep.), at 222-235. Plaintiff

Todman denies this conversation having had occurred. Exhibit 13 (Todman

Affidavit), at ¶ 7. But, again, for the purposes of this motion that factual assertion

must also be assumed to have been true. Defendant Collins maintains that this

interaction ended with yelling. Exhibit 14 (4/5/2021 Collins Dep.), at 222-235.

       On July 30, 2019, Plaintiff Todman reserved a moving truck for use on

Thursday, August 1, 2019. July 30, 2019 Confirmation Email from UHaul to Plaintiff

Todman (attached hereto as Exhibit 20). On the morning of Wednesday, July 31,

2019, Plaintiffs left their home to go to work as normal. Exhibit 13 (Todman

Affidavit), at ¶ 10. Ms. Gattis’ mother, Sheila Chaney, who had been living with

Plaintiffs at the Property after she suffered a stroke, was at home at the Property.

Id. Defendant Collins appeared at the Property with a Sheriff’s deputy. Id. The

deputy directed Ms. Chaney to leave the Property. Defendant Collins took possession

of the Property and purportedly instantaneously acquired ownership over Ms.

Chaney’s and Plaintiffs’ personal property that was “in or about” the Property.

Defendant Collins then composed and sent the following text message to Plaintiff

Todman:3

              They took pics of the bike today. Because as of this Morning
              everything in and on the property are my possession per Balt city
              law. They wanted the vin number so it can be traced if it’s moved



3 The text message exchange between Plaintiff Todman and Defendant Collins has numerous

typographical errors. Rather than note each error or attempt to correct the error, Plaintiffs
are quoting the text messages as written.


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             without my permission. Even without a title it’s officially mine
             until the balance owed to me is satisfied.

See Collection of Text Messages between Plaintiff Todman and Defendant Collins

(attached hereto as Exhibit 21).

      At 3:23 PM the same day, Plaintiff Todman wrote to Defendant Collins: “I’m

waiting on a total I trying to get u ur money.” Id. Defendant Collins responded at 5:30

PM that same day, in relevant part:

             I’m at 5800 that’s what I need from u. Not going to argue . I just
             want what y’all cost me and that’s not even the full amount but
             I’m willing to accept that if it can be done by Saturday.

             Please don’t make this worse by going bk to / in the house or trying
             to steal the bike . They have the vin so it’s attached now.

             Let me know something. I will have everything brought out of
             the house by my guys to the yard and you can get from there[.]

Plaintiff Todman responded by text message later that day. He inquired as to how

Defendant Collins came up with the $5,800 figure. Id. Defendant Collins responded

that same day by writing: “Let me know whn u will have 5800 cash before Saturday

and we’re done with each other as long as there are no more problems.” Id.

      On Friday, August 2, 2019, Plaintiff Todman texted Defendant Collins that he

could not come up with $5,800 in a day, writing that he was just trying to pay

Defendant Collins and get his belongings back. Id. Defendant Collins responded by

text the same day, asking when Plaintiff Todman would have more money. Id.

Plaintiff Todman responded the next day: “That’s all I got I’m tapped out I trying to

get my things and be done.” Id. Defendant Collins responded in relevant part: “I’m

willing to accept a payment today until you get the rest of it but I hve to have it today



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. Let me know this morning because I’m losing money every day that stuff is on there.”

Id. Plaintiff Todman responded the next morning, August 3, 2019: “Look got 3100

that’s all I have I’m trying to give you that and get my stuff. I can come up with no

more I been trying.” Id. Defendant Collins responded by asking how much more,

between Plaintiffs and Ms. Chaney, Plaintiff Todman could come up with “this

coming week” but also insisted on a payment that day. Id.

       Unwilling to make a payment without a promise of the return of their

belongings, Plaintiffs were ultimately unable to come up with the $5,800 demanded

by Defendant Collins for the return of their belongings. Their communications ended

on August 9, 2019 following a text message from Plaintiff Todman to Defendant

Collins: “I need my belongings today if I owe u money we can figure that out on the

back end but need my belongings.” Id. Defendant Collins did not respond. Exhibit 13

(Todman Affidavit), at ¶ 12.

       While it is true that the parties have a number of disputes regarding what

belongings of Plaintiffs were still at the Property at the time of the eviction, there is

no question that there were at least some of Plaintiffs’ personal belongings at the

Property at the time of the eviction and that Defendant Collins asserted ownership

over them as a result of § 8A-4. For example, Defendant Collins agrees that there was

a large, curved flat-screen television at the Property at the time of the eviction. 4


4 Defendant Collins claims that there was a break-in at the Property at some point after the

eviction where that television and other items went missing. Exhibit 14 (4/5/2021 Collins Dep.),
at 33-36. Defendant Collins speculates that Plaintiff Todman was responsible for that break-
in, although he has no evidence to support that assertion other than an unsupported
assertion that Plaintiff Todman allegedly has a reputation for similar actions. Id. Such



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Exhibit 14 (4/5/2021 Collins Dep.), at 33. Further, in January of 2020, in response to

this lawsuit, Defendant Collins returned various items to Plaintiffs, including

Plaintiff Todman’s motorcycle, some shoes, pots and pans and some dining room

furniture. See Defendant Collins’ Answers to First Set of Interrogatories (attached

hereto as Exhibit 22).

      Thus, there is no dispute that, as a result of § 8A-4, Plaintiffs were deprived of

at least some of their belongings for at least five months. However, Plaintiffs will

testify that they lost far more than that as a result of § 8A-4 and have been

permanently deprived of the majority of their personal belongings, including

expensive electronics and clothes and irreplaceable family heirlooms like the ashes of

Plaintiff Gattis’ great grandfather, original (and sole copies) of family photos, and the

American flag presented to Plaintiff Gattis’s family at her grandfather’s funeral.

Exhibit 13 (Todman Affidavit), at ¶ 13.

                                      Argument

      The City’s ordinance, which deprives tenants of notice that their personal

property is at risk and which deems their property to be abandoned without any

opportunity to contest that presumption, violates the Due Process Clause of the

Fourteenth Amendment in numerous respects. The Due Process Clause of the

Fourteenth Amendment provides: “nor shall any state deprive any person of life,

liberty, or property, without due process of law.” U.S. Const. amend. XIV, § 1. As




speculation is inadmissible conjecture. Felty v. Graves-Humphreys Co., 818 F.2d 1126, 1128
(4th Cir. 1987) (“[u]nsupported speculation is not sufficient to defeat a summary judgment
motion”).


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Justice Blackmun stated for a unanimous Supreme Court, “[t]o put it as plainly as

possible, the State may not finally destroy a property interest without first giving the

putative owner an opportunity to present his claim of entitlement.” Logan v.

Zimmerman Brush Co., 455 U.S. 422, 434 (1982). That simple, but powerful,

proposition dooms the City’s ordinance.

      A.     Plaintiffs Possessed a Property Interest in their Eviction
             Chattels.

      There can be no question that Plaintiffs possessed a property interest in their

belongings at the time of their eviction. At common law, landlords were required to

keep a tenant’s belongings safe after an eviction and make reasonable arrangements

to allow a tenant to retrieve them, unless the landlord could meet the high burden of

showing that the tenant’s conduct manifested an intent to abandon the property.

Nickens v. Mount Vernon Realty Grp., LLC, 429 Md. 53, 79, 54 A.3d 742, 758 (2012).

Although statutory changes have modified those duties, the Court of Appeals of

Maryland has nevertheless confirmed that a tenant retains a protected property

interest in their belongings even through an eviction.

      In Nickens, the Court explained that under the common law, a landlord

evicting tenants had an obligation to take reasonable care with the tenant’s

belongings after an eviction, and can be sued for conversion if the belongings are not

returned to the tenant. The Court confirmed that a tenant’s personal property that

was present in a home at the time of a post-foreclosure eviction was not automatically

deemed abandoned, but required an analysis of whether “the owner of the personalty

manifested an intent to walk away ‘with no intention to again claim [the personalty]



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or exercise’ his rights of ownership over his personal property.” Id. at 78, 54 A.3d at

757 (quoting Steinbraker v. Crouse, 169 Md. 453, 458, 182 A. 448, 450 (1936)).

Accordingly, under common law, in the absence of such manifestation, “[d]isposition

of the personalty found [in a home after an eviction] is also held to a standard of

reasonableness, and those actors may be liable for the disposition of the personalty

that is not accomplished in a reasonable way.” Id. Accord 52A C.J.S. Landlord &

Tenant § 749.

       In Maryland, as in many states, this common law duty of a landlord has been

supplanted by statute. The applicable statute provides that the tenants’ belongings

are to be removed from the premises at the time of the eviction. M D. CODE ANN., REAL

PROP. § 8–401(d)(1)(i). But as the Court of Appeals recognized, under this statute,

tenants do not lose their interest in any personal belongings left at their home after

being evicted. State v. Boone, 284 Md. at 8, 393 A.2d at 1365 (a tenant who still has

belongings in an apartment at the time of his eviction does not relinquish his

possessory rights).

       That is true, as best Plaintiffs can tell, of every other state in the nation.

Thirty-four states have statutes requiring that tenants’ belongings must be stored for

a certain amount of time after an eviction and allowing the tenant to retrieve those

belongings.5 At least four more states and the District of Colombia still follow the


   5 See ALA. CODE § 35-9A-423 (14 days); ALASKA STAT. ANN. § 34.03.260(b) (at least 15

days); ARK. CODE ANN. § 18-60-310(c) (24 hours); ARIZ. REV. STAT. ANN. § 33-1370(F) (14
days); CAL. CIV. PRO. CODE §1174(e)-(f) (30 days); CONN. GEN. STAT. ANN. §47a-42(c) (stored
in a publicly maintained storage facility for at least 15 days); DEL. CODE ANN., TIT. 25, §
5715(e) (7 days); HAW. REV. STAT. ANN. § 521-56 (“Before selling or donating such personalty,



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common law.6 Two additional states do not appear to have a statute or modern case

law on the topic, but presumably follow the common law.7 Finally, the remaining nine

States, like Maryland generally, provide that a tenant’s belongings are set out upon

an eviction.8




the landlord shall make reasonable efforts to apprise the tenant ...”); IDAHO CODE ANN. § 6-
316(2) (3 days); IND. CODE ANN. §§ 32-31-4-2 to 32-31-4-5 (landlord must obtain court order
to remove tenants’ belongings, and then belongings are moved to storage for at least 90 days);
KAN. STAT. ANN. § 58-2565(d) (30 days); ME. STAT. TIT. 14, § 6013 (at least 7 days); MASS.
GEN. LAWS ANN. CH. 239 § 4 (officer takes tenants’ belongings to public storage, which must
keep the belongings up to 6 months); MINN. STAT. ANN. § 504B.365 (60 days); MONT. CODE
ANN. § 70-24-430 (at least 10 days); NEB. REV. STAT. ANN. § 69-2303 (at least 7 days); NEV.
REV. STAT. Ann. § 118A.460 (30 days); N.J. STAT. ANN. §§ 2A:18-72 through 2A:18-84 (30
days); N.H. REV. STAT. ANN. § 540-A:3(VII) (7 days); N.M. STAT. ANN. §47-8-34.1(C) (3 days);
N.C. GEN. STAT. ANN. § 42-36.2 (7 days); N.D. CENT. CODE ANN. § 47-16-30.1 (28 days); OKLA.
STAT. tit. 41, § 130 (30 days); OR. REV. STAT. ANN. § 90.425 (15 days); 68 PA. STAT. ANN. §
250.505a (10 days from notice with ability for tenant to request an additional 30 days); 34
R.I. GEN. LAWS ANN. § 34-18-50 (belongings removed by sheriff can be recovered upon paying
costs of moving them); S.D. CODIFIED LAWS § 43-32-26 (30 days); TENN. CODE ANN. § 29-15-
124 (moved to public storage facility at option of tenant); U TAH CODE ANN. §§ 78B-6-812 (3)(b)
and 78B-6-816 (at least 15 days); VT. STAT. ANN. tit. 12, § 4854a (15 days); WASH. REV. CODE
ANN. § 59.18.312 (30 days); W. VA. CODE ANN. § 55-3A-3(h) (30 days); WIS. STAT. ANN. §
799.45 (moved to public storage or stored by landlord); WYO. STAT. ANN. § 1-21-1210 (7 days).
   6 DC - Hinton v. Sealander Brokerage Co., 917 A.2d 95, 107 n.20 (D.C. 2007); IL - Zissu v.

IH2 Prop. Illinois, L.P., 157 F. Supp. 3d 797, 802 (N.D. Ill. 2016); MS - Opperman v.
Littlejohn, 54 So. 77, 78 (Miss. 1911); MO - Knight v. M.H. Siegfried Real Estate, Inc., 647
S.W.2d 811, 814 (Mo. Ct. App. 1982); NY - Jo v. JPMC Specialty Mortg., LLC, 131 F. Supp.
3d 53, 56-57 (W.D.N.Y. 2015).
   7 Kentucky and Michigan, but Michigan does have a 136-year-old case following the
common law approach that still appears to be good law. U. S. Mfg. Co. v. Stevens, 17 N.W.
934, 936 (Mich. 1883).
   8 COLO. REV. STAT. ANN. § 13-40-122; FLA. ST. ANN.§ 83.62; GA. CODE ANN. § 44-7-55(c)

(see also Washington v. Harrison, 682 S.E.2d 679, 683 (Ga. App. 2009) (landlord liable for
conversion if landlord does not set out tenant’s belongings); Khan v. Heritage Prop. Mgmt.,
584 N.W.2d 725, 730 (Iowa Ct. App. 1998); LA. CODE CIV. PROC. ANN. ART. 4734; Ringler v.
Sias, 428 N.E.2d 869 (Ohio Ct. App. 1980); S.C. CODE ANN. § 27-40-710 (set out property must
be left for at least 48 hours or until normal trash pickup, and notice of eviction must inform
tenant of this); TEX. PROP. CODE ANN. § 24.0061 (officer has discretion to move belongings to
a container and then dispose of them after a reasonable time is given to the tenant to retrieve
them, otherwise belongings are set out); VA. CODE ANN. § 55.1-1255 (set out for at least 24
hours).


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      Thus, in Maryland generally, and the other 49 states and the District of

Columbia, a landlord is not permitted to keep a tenant’s belongings at the time of the

eviction without any ability for the tenant to recover them. Accordingly, it is clear

that tenants maintain a property interest in personal property even through an

eviction. Baltimore City’s unique approach results in the termination of tenants’

property rights without due process.

      B.     Baltimore City Deprived Plaintiffs of Their Property Interest
             in the Eviction Chattels Without Due Process.

      Baltimore City cannot twist the concept of abandonment to forfeit personal

property where no indicia of abandonment are present. Even if the City had that

power, it cannot exercise it without giving tenants’ some opportunity to contest the

abandonment presumption. Particularly when there is no warning of when an

eviction would occur, the effect of the Baltimore City ordinance that declares such

property abandoned offends Due Process.

      “An elementary and fundamental requirement of due process in any

proceeding which is to be accorded finality is notice reasonably calculated, under all

the circumstances, to apprise interested parties of the pendency of the action and

afford them an opportunity to present their objections.” Mullane v. Cent. Hanover

Bank & Trust Co., 339 U.S. 306, 314–15 (1950) (citations omitted).

      The Due Process Clause has been applied in similar situations to strike down

attempts to declare property abandoned and forfeited, including by this Court. In

Associates Commercial Corp. v. Wood, 22 F. Supp. 2d 502 (D. Md. 1998), this Court

struck down a Maryland statute which provided that “any person on whose property



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a totally inoperable vehicle more than 8 years old has remained for more than 48

hours without the consent of the owner of the property may transfer the vehicle for

scrap without a certificate of title or notification.” Id. at 504. This court reasoned that

even if the vehicle could have been considered abandoned, “[a]bandoned property can

be of considerable value regardless of its age and whether or not it is in operable

condition,” and thus, there is a “constitutionally protectable interest” in an

abandoned vehicle. Id.

       Because property owners retain a property interest in their vehicles, this Court

explained, the next question is: what process is due. The answer is that the

government must provide “notice and opportunity to be heard . . . ‘before’ the

deprivation.” Id. at 506 (quoting Mathews v. Eldridge, 424 U.S. 319, 333 (1976)).

Because Maryland’s statute failed to provide either notice or a hearing, this Court

found it to be unconstitutional.

       In Lavan v. City of Los Angeles, 693 F.3d 1022 (9th Cir. 2012), a group of

homeless individuals alleged that the City of Los Angeles had seized and immediately

destroyed their personal property that they’d left on public sidewalks. Id. at 1025.

The Court of Appeals for the Ninth Circuit found that the City of Los Angeles had

violated the plaintiffs’ due process rights even though there was a local ordinance

criminalizing leaving personal property on city streets and warnings were posted that

unattended belongings would be destroyed. The court rejected the city’s argument

that because the property was left in violation of the ordinance, the City of Los

Angeles could dispose of it without due process:




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              The City demonstrates that it completely misunderstands the
              role of due process by its contrary suggestion that homeless
              persons instantly and permanently lose any protected property
              interest in their possessions by leaving them momentarily
              unattended in violation of a municipal ordinance. As the district
              court recognized, the logic of the City’s suggestion would also
              allow it to seize and destroy cars parked in no-parking zones left
              momentarily unattended.

Id. at 1032. The court held that “[b]ecause homeless persons’ unabandoned

possessions are ‘property’ within the meaning of the Fourteenth Amendment, the City

must comport with the requirements of the Fourteenth Amendment’s due process

clause if it wishes to take and destroy them.” Id. at 1032.

       Finally, although the court did not reach a final determination of the

constitutional question at the procedural stage of its opinion, the U.S. District Court

for the District of Delaware directly addressed an eviction chattels matter in Mombro

v. Louis Capano & Sons, Inc., 526 F. Supp. 1237, 1241 (D. Del. 1981). The court

addressed a Delaware statute that provided:

              If prior to or upon the tenant's removal (in the course of a
              summary repossession proceeding) from said premises, the
              tenant fails to remove his property or possessions, the landlord
              shall have the right to remove and store same at tenant's expense
              for up to a period of 30 days. If at the end of such period the tenant
              has failed to claim said property and to reimburse the landlord
              for the expense of removal and storage in a reasonable amount,
              such property shall be deemed abandoned and may be disposed of
              by the landlord without further notice or obligation to the tenant.

Id. at 1239. Although the court did not finally rule on the constitutionality of the

statute, it did hold that the plaintiff’s claims that the statute “provides

constitutionally inadequate procedural safeguards is not insubstantial.” Id. In

particular, the court criticized the statute’s lack of notice:



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             Even without an affirmative misrepresentation by the landlord,
             the statute leaves open the possibility that a tenant may
             “abandon” property in the mistaken belief that his or her landlord
             will retain the goods until claimed. Nor would such a notice
             requirement appear to impede the objective of the statute; if
             anything, it would encourage tenants to remove their belongings
             more quickly, thereby freeing space for alternative use. Finally,
             procedures such as notice of the thirty day limitation on storage
             would not appear to impose a significant fiscal or administrative
             burden on the State, and would be very likely to prevent
             erroneous deprivations under Section 5715(d).

Id.

       Thus, it is clear that the Due Process Clause requires notice before depriving

renters of their belongings. While the City undertakes to warn some tenants facing

eviction of the time of the eviction and its consequences, the failure to provide any

notice before permanently terminating property rights of some renters (tenants

holding over) is arbitrary and unconstitutional.

       Contrary to Defendants’ positions, the tenant holding over action itself does

not provide that due process. The tenant holding over action is limited to the question

of whether the landlord should be awarded possession of the premises, not all of his

tenants’ belongings. Indeed, as the judge in that action made clear at the outset, there

are only four relevant issues in any tenant holding over action: “if the landlord had

at some point been in possession of the premises, so it is his actual property; if a lease

has fully expired; if proper notice has been given; and, four, if a person or people in

actual possession of the premises refuse to quit the premises.” Exhibit 17 (Hearing),

at 4. Anything else is necessarily off-limits. As such, nothing about Plaintiffs’

personal property was even mentioned during the proceeding. Id.




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      The limited scope of the Hearing, and in rem tenant holding over actions, is

highlighted by the fact that Plaintiffs were not even personally served in the tenant

holding over action, and instead were simply served by posting on the Property.

Exhibit 16. The reason that this kind of service is permissible is that tenant holding

over actions are limited to the question of whether a warrant of restitution should

issue. MD. CODE ANN., REAL PROP. § 8-402 (b)(1)(ii). It is only where there is personal

service that a court may award damages against a residential tenant. MD. CODE ANN.,

REAL PROP. § 8-402 (a)(3)(ii). Accordingly, it is clear that the Hearing and the tenant

holding over action in this case only addressed the restitution of the Property, and

did not extend to the ownership of the belongings in the Property.

      In sum, “[t]o put it as plainly as possible, the State [or local government] may

not finally destroy a property interest without first giving the putative owner an

opportunity to present his claim of entitlement.” Logan v. Zimmerman Brush Co., 455

U.S. 422, 434 (1982). The limited scope of a tenant holding over action does not

provide that opportunity for tenants in Baltimore City. Something more is required

before the City acts to destroy tenants’ property interests. Because the City has failed

to provide that opportunity, its ordinance violates the Fourteenth Amendment to the

United States Constitution.

      C.     The City’s Failure to Provide Post-Deprivation Hearing Also
             Violates Due Process.

      In addition to the City’s failure to require notice of an eviction, notice of the

threat of deprivation of all of a tenant’s personal belongings, and a pre-deprivation

hearing to contest the presumption of abandonment, the City has also violated the



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Fourteenth Amendment by failing to provide for a post-deprivation hearing to

challenge the abandonment presumption.

      “The constitutional right to be heard is a basic aspect of the duty of government

to follow a fair process of decisionmaking when it acts to deprive a person of his

possessions.” Fuentes v. Shevin, 407 U.S. 67, 80–81 (1972). The purpose of that right

“is to protect [the individual’s] use and possession of property from arbitrary

encroachment—to minimize substantively unfair or mistaken deprivations of

property, a danger that is especially great when the State seizes goods simply upon

the application of and for the benefit of a private party.” Id. The right derives from

our constitutional value that “we place on a person’s right to enjoy what is his, free of

governmental interference.” Id.

      As discussed at length, the City presumes all possessions to be abandoned

without any opportunity to contest that presumption. The presumption applies to

property that no person would ever conclude has been abandoned: tickets for an

upcoming performance of Hamilton; a book with a bookmark in it; car keys to a new

car parked in the garage (not to mention the car itself); cash or an uncashed check for

child support; prescription medication for an ongoing condition; dentures. Indeed, the

City’s ordinance is limitless in its offensiveness. If a neighborhood child leaves her

bike in or near the garage of a family facing eviction, she would lose her bike at the

moment the landlord changed the locks. Indeed, that same child would lose her family

dog if the dog happened to be “in or about” the premises at that fateful moment.




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      In these circumstances, it’s difficult to imagine the landlord even bothering to

contest the evidence that tenants or third parties intended to give up their property

interests. Yet because the City deprives tenants and third parties of due process, the

landlord is unjustly enriched and tenants face the greatest imaginable governmental

interference with the right to enjoy what is theirs. While pre-deprivation notice and

an opportunity to be heard are required, so is a post-deprivation hearing. Given the

interests at stake, property owners are entitled to some ability to claim what is theirs

both before and after the City acts to destroy all of their property interests in

conceivably everything they own. In short, a legislative presumption of abandonment

without the slightest opportunity to challenge that presumption violates due process.

      D.     The City’s Ordinance Also Violates The Due Process Clause’s
             Incorporation of the Fourth Amendment Right to be Free of
             Unreasonable Seizures.

      In addition to providing procedural due process rights, the Due Process Clause

of the Fourteenth Amendment also incorporates the Fourth Amendment’s guarantee

of freedom from unreasonable seizures. Torres v. Madrid, 141 S. Ct. 989, 997 (2021);

Wolf v. People of the State of Colo., 338 U.S. 25, 27–28 (1949); Mapp v. Ohio, 367 U.S.

643 (1961). Although less well known, the Fourth Amendment applies in the civil

context and serves as an additional bulwark for the protection of individual property

rights. Soldal v. Cook Cty., Ill., 506 U.S. 56, 67 (1992).

      The Supreme Court has explained that the Fourth Amendment applies

independently to protect against searches and seizures of property. United States v.

Jacobsen, 466 U.S. 109, 113 (1984). “A ‘seizure’ of property occurs when there is some

meaningful interference with an individual's possessory interests in that property.”


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Id. As the Court has explained, “seizures of property are subject to Fourth

Amendment scrutiny even though no search within the meaning of the Amendment

has taken place.” Soldal, 506 U.S. at 68.

      In addition to finding a due process violation in Lavan, the Ninth Circuit held

that the practice by Los Angeles’s ordinance authorizing destruction of belongings

left on streets by the homeless constituted an unreasonable seizure under the Fourth

Amendment. The Court explained that even the seizure of unattended belongings left

on a city street was subject to the Fourth Amendment’s reasonableness requirement.

Lavan, 693 F.3d at 1029. The Court found that the City’s seizure was unreasonable

and upheld the district court’s injunction requiring that any seized property be held

for a period of 90 days.

      The destruction of Plaintiffs’ property interests in this case is similarly

unreasonable. Through the ordinance, the City destroys tenants’ entire bundle of

rights by deeming “abandoned” any private property “in or about the leased premises

at the time that the warrant of restitution is executed.” Baltimore City Code art. 13,

§ 8A-4(a). In Maryland, as elsewhere, “[t]he rule of law with respect to abandoned

property is simple. Property is abandoned when the owner walks off and leaves it

with no intention to again claim it or exercise rights of ownership over it[.]”

Steinbraker v. Crouse, 169 Md. 453, 458, 182 A. 448, 450 (1936).

      There is no dispute in this case that Plaintiffs, or tenants in general, do not

abandon property by leaving items on real property which they no longer occupy. To

the extent there is any dispute about this concept, it is settled by 111 Scherr Lane,




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LLC v. Triangle General Contracting, Inc., 233 Md. App. 214, 236, 163 A.3d 248, 261

(2017) (confirming that personal property left on real property is not deemed

abandoned at common law). Particularly in the absence of the type of notice required

in tenant holding over cases, which prominently warns on two occasions when the

eviction will occur and the consequences of the eviction, § 8A-4’s blanket, irrebuttable

and unchallengeable deeming of property to be “abandoned” without any of the

typical indicia of abandonment is plainly unreasonable.

      The City’s only justification for the destruction of tenants’ property interests is

a concern that a landlord might dispose of the tenants’ property by placing that

property on public property.

      Yet the solution for the problem of landlords throwing their tenants’ property

onto City streets is to prevent landlords from throwing property onto City streets. In

fact, the City has done just that. Article 13 § 8A-6 prohibits anyone, including tenants

and landlords, from placing personal property in “a public right-of-way or on any

public property.” And even if the City hadn’t already addressed the problem of

tenants’ property being thrown onto public property, the reasonable answer is not to

punish tenants by depriving them of everything they own and unjustly enriching

landlords.

      Even assuming, as must be done at this procedural posture, that Plaintiffs

received the Form DC-CV-081 that was mailed by the Court and were then informed,

through a screaming match, by Defendant Collins that the eviction would occur

sooner than anticipated, that is insufficient to render the destruction of all of their




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property interest “reasonable.” Form DC-CV-081 does not sufficiently warn lay-

persons of the peril to their property. The relevant warning is buried in fine-print on

the back of the notice. Non-lawyer tenants are unlikely to understand the significance

of the “failure to pay rent” qualification in the fine print that provides the notice

requirements for an eviction in those types of cases. Indeed, Baltimore City’s own

requirements for failure to pay rent cases require much more prominent, and

repeated, warnings of the consequences of the eviction and when it will occur.

      The fine print is insufficient to provide meaningful notice to tenants that they

stand to forfeit all personal property at the moment of eviction. Nowhere on Form

DC-CV-081 is there an explanation that the City designed a process by which all of

the tenant’s personal property instantaneously transfers to the possession of the

landlord. Rather, the form language is reasonably construed as a warning not to

inadvertently leave stray items behind. It does not even hint at the real design of the

ordinance.

      As for the purported notice of the date of the eviction, the reasonableness of

the City ordinance irrefutably deeming the items forfeited cannot hinge on a hope

that perhaps landlords will voluntarily warn tenants of the eviction dates. There is

no evidence that Defendant Collins informed anyone associated with any

governmental entity of his purported warning prior to the destruction of Plaintiffs’

property interests. So this disputed fact cannot save the ordinance.

      And if an enterprising tenant were to consult the ordinance itself, the tenant

would gain no more insight into the actual process. The ordinance appears to apply




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to property removed from the premises and deems “unclaimed property” to be

abandoned. The purpose statement—which again the City continues to endorse—

indicates that tenant has a right of reclamation. None of that is accurate.

      Nor does the form or the ordinance warn tenants that landlords may hold their

property hostage for ransom. And nothing in the ordinance or the form is intended to

give notice to third parties that their property too is at risk of becoming the landlord’s

property.

      In short, the ordinance fails the Fourth Amendment’s reasonableness

requirement incorporated by the Fourteenth Amendment.

      E.     The City’s Ordinance Also Violates Substantive Due Process.

      The City’s ordinance, which deemed Plaintiffs’ belongings abandoned and

forfeited without notice of when the eviction would occur or its consequences also

constitutes the type of arbitrary government action prohibited by substantive due

process. As Chief Justice Chase explained more than 200 years ago, the Constitution

prohibits certain fundamental deprivations by legislatures, including “a law that

takes property from A. and gives it to B.” Calder v. Bull, 3 U.S. 386, 388 (1798)

      “The touchstone of due process is protection of the individual against arbitrary

action of government.” Meachum v. Fano, 427 U.S. 215, 226 (1976); County of

Sacramento v. Lewis, 523 U.S. 833, 845–46 (1998). When government action is so

lacking in justification that it “can properly be characterized as arbitrary, or

conscience shocking, in a constitutional sense,” Collins v. City of Harker Heights , 503

U.S. 115, 128 (1992), it violates the Due Process Clause.




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      As discussed in more detail in above, the City’s ordinance is arbitrary and

conscience shocking because of the incredibly harsh and unnecessary result—final

termination of property rights without recourse for the tenant—employed in an

apparent attempt to prevent inconvenience to landlords. The “solution” arrived at by

the City is to trample on tenants’ property rights in a manner that is “conscience

shocking” and inconsistent with basic expectations of fairness. In short, a city does

not have the power to destroy one party’s property interests to benefit a segment of

the business community.

      The City can articulate no rational basis for exempting certain kinds of eviction

from the notice requirements in failure to pay rent cases. Nor is there any rational

relationship between protecting against landlords’ from improperly placing eviction

chattels on public property and effecting an instantaneous transfer of all property “in

or about” the leased dwelling to the landlord. Indeed, the ordinance is so expansive

as to apply to any property left in the common areas of an entire apartment complex

at the time of the eviction of one tenant. Exhibit 1 (City Dep.), at 50.

      The City cannot articulate a persuasive justification for the ordinance. Instead,

the City’s blatant overreach leaps off the page. Its abandonment presumption applies

to any property, not just property that is at risk of being thrown into the street or

hindering the landlord from re-renting a place. An “abandoned” flat screen TV, for

instance, makes a place easier to rent, not more difficult. An “abandoned” Range

Rover parked in the garage might then be parked on the street (now that the landlord

has taken possession of it) but was never at risk of being “thrown into the street.” The




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irony of course is that had Defendant Collins placed Plaintiffs’ belongings on the

sidewalk, Plaintiffs would have had some ability to maintain their possession over

them. But by operation of the City’s ordinance, they were deprived of all possessory

rights. For these reasons, the City’s ordinance is not rationally related to a legitimate

public purpose and even if it was, there is no rational relationship between the means

and the end.

                                     Conclusion

      For the reasons stated, Plaintiffs respectfully request that this Court grant

their motion for partial summary judgment as to the invalidity of Baltimore City Code

Art. 13, § 8A-4 under the Due Process Clause of the Fourteenth Amendment.

 Dated:   May 28, 2021                     Respectfully submitted,
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